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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,
                                                             Criminal Case Number 07-20531-5
                                                             Civil Case Number 11-13342
                                                             Honorable Thomas L. Ludington
v.

DAMARLON CENAKA THOMAS,

                  Defendant.
_______________________________________/

    ORDER ADOPTING REPORT AND RECOMMENDATION AND DENYING
 DEFENDANT’S MOTION TO VACATE SENTENCE PURSUANT TO 28 U.S.C. § 2255

        This matter is before the Court on a report and recommendation (ECF No. 280) issued by

Magistrate Judge Charles E. Binder on November 9, 2011. Judge Binder recommends that the Court

deny Defendant Damarlon Thomas’s motion pursuant to 28 U.S.C. § 2255 to vacate his sentence.

ECF No. 273. Defendant contends that his trial counsel was ineffective in advising him that “cocaine

base is synonymous with crack” and that but for this misrepresentation, Defendant would not have

faced a statutory minimum or enhanced sentence for the crack form of cocaine base. ECF No. 273

at 9.

        Judge Binder concluded that defense counsel could not have been ineffective for failing to

require the government to prove that the controlled substance he pled to knowingly distributing was

crack cocaine when Defendant acknowledged in his plea agreement that the substance was crack

cocaine and has not argued any differently in his petition to vacate his sentence. Moreover, even if

Defendant did challenge whether the substance he distributed was crack, as opposed to some other

form of cocaine base, the result would be the same because of Defendant’s status as a career
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offender. Additionally, “the term ‘cocaine base’ as used in § 841(b)(1) means not just ‘crack

cocaine,’ but cocaine in its chemically basic form” and Defendant could not have been prejudiced

by any failure to distinguish crack cocaine from other forms of cocaine base. DePierre v. United

States, 131 S. Ct. 2225, 2237 (2011). Because Defendant cannot show any prejudice from any

alleged failures in his trial counsel’s advice, Judge Binder suggests that Defendant is not entitled to

a hearing on the allegations raised in his motion.

       As of today’s date, no party has filed any objections to the magistrate judge’s report and

recommendation. The failure to file objections to the report and recommendation waives any further

right to appeal. Smith v. Detroit Fed’n of Teachers Local 231, 829 F.2d 1370, 1373 (6th Cir. 1987).

Likewise, the failure to object to the magistrate judge’s report releases the Court from its duty to

independently review the record. Thomas v. Arn, 474 U.S. 140, 149 (1985).

       Accordingly, it is ORDERED that Judge Binder’s report and recommendation (ECF No.

280) is ADOPTED.

       It is further ORDERED that Defendant’s motion to vacate sentence pursuant to 28 U.S.C.

§ 2255 (ECF No. 273) is DENIED.

                                                       s/Thomas L. Ludington
                                                       THOMAS L. LUDINGTON
                                                       United States District Judge
Dated: December 5, 2011


                                                PROOF OF SERVICE

                         The undersigned certifies that a copy of the foregoing order was served
                         upon each attorney of record herein by electronic means and upon
                         Damarlon Cenaka Thomas, #42325-039, at Elkton Federal Correctional
                         Institution, Inmate Mail/Parcels, P.O. Box 10, Lisbon, OH 44432 by
                         first class U.S. mail on December 5, 2011.

                                                          s/Tracy A. Jacobs
                                                          TRACY A. JACOBS




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